

People v Morris-Caldwell (2022 NY Slip Op 05187)





People v Morris-Caldwell


2022 NY Slip Op 05187


Decided on September 15, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:September 15, 2022

111553
[*1]The People of the State of New York, Respondent,
vShacream Morris-Caldwell, Appellant.

Calendar Date:September 2, 2022

Before:Egan Jr., J.P., Clark, Aarons, Reynolds Fitzgerald and McShan, JJ.

Stephen W. Herrick, Public Defender, Albany (James Bartosik Jr. of counsel), for appellant.
P. David Soares, District Attorney, Albany (Vincent Stark of counsel), for respondent.



Appeal from a judgment of the County Court of Albany County (William A. Carter, J.), rendered November 8, 2018, convicting defendant upon his plea of guilty of the crime of attempted criminal possession of a weapon in the second degree.
Defendant pleaded guilty to a superior court information charging him with attempted criminal possession of a weapon in the second degree and purportedly waived the right to appeal. County Court thereafter sentenced defendant to five years in prison, to be followed by five years of postrelease supervision. Defendant appeals.
Appellate counsel seeks to be relieved of his assignment of representing defendant on the ground that there are no nonfrivolous issues that may be raised on appeal. Based upon our review of the record, we find issues of arguable merit pertaining to the validity of the waiver of the right to appeal that may impact other issues that may be raised, such as the severity of the sentence imposed (see People v Williams, 204 AD3d 1161, 1162 [3d Dept 2022]). Accordingly, without passing judgment on the ultimate merit of these issues, we grant counsel's application for leave to withdraw and assign new counsel to address these issues and any others that the record may disclose (see People v Beaty, 22 NY3d 490, 492—493 [2014]; People v Stokes, 95 NY2d 633, 638—639 [2001]; see generally People v Cruwys, 113 AD2d 979, 980 [3d Dept 1985], lv denied 67 NY2d 650 [1986]).
Egan Jr., J.P., Clark, Aarons, Reynolds Fitzgerald and McShan, JJ., concur.
ORDERED that the decision is withheld, application to be relieved of assignment granted and new counsel to be assigned.








